             Case MDL No. 3052 Document 94 Filed 12/13/22 Page 1 of 5




                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: KIA HYUNDAI VEHICLE
THEFT LITIGATION                                                                      MDL No. 3052


                                       TRANSFER ORDER


Before the Panel: * Plaintiffs in a Central District of California action (McNerney) move under
28 U.S.C. § 1407 to centralize this litigation in the Central District of California. This litigation
involves allegations that certain Hyundai and Kia vehicles are unduly susceptible to theft.
Plaintiffs’ motion includes sixteen actions pending in fourteen districts, as listed on Schedule A,
as well as 34 potentially-related actions. 1

         No party opposes centralization of this litigation, but the parties disagree considerably over
selection of the transferee district. Plaintiffs in the Western District of Missouri Bissell action and
five potential tag-along actions support centralization in the Central District of California.
Plaintiff in Bissell alternatively suggests a Western District of Missouri transferee district.
Plaintiffs in ten actions and two potential tag-along actions support centralization in the Western
District of Missouri or, alternatively, the Eastern District of Wisconsin or the Northern District of
Illinois. Plaintiffs in the Northern District of Ohio Slovak action suggest centralization in the
Northern District of Ohio. Plaintiffs in the Eastern District of Michigan DeKam potential tag-
along action support centralization in the Eastern District of Michigan. Plaintiffs in the first-filed
Eastern District of Wisconsin Marvin action and a Central District of California potential tag-along
action suggest centralization in the Eastern District of Wisconsin or, alternatively, the Central
District of California. Plaintiffs in the Northern District of Illinois Givens potential tag-along
action support centralization in the Northern District of Illinois or, alternatively, the Eastern
District of Pennsylvania. Plaintiffs in the Eastern District of Pennsylvania Alston potential tag-
along action support centralization in the Eastern District of Pennsylvania.


*
 Judge Madeline Cox Arleo took no part in the decision of this matter. Additionally, certain Panel
members who may be members of the putative classes in this litigation have renounced their
membership in these classes and participated in this decision.
1
  These actions, and any other related actions, are potential tag-along actions. See Panel Rules
1.1(h), 7.1 and 7.2. Further, at oral argument, some parties expressed their tentative view that
personal injury actions should not be included in this litigation. Because the issue of whether to
include such actions in this MDL is not squarely before us now, we will address it in the conditional
transfer order process.




           Case 2:21-cv-01146-PP Filed 12/13/22 Page 1 of 5 Document 50
             Case MDL No. 3052 Document 94 Filed 12/13/22 Page 2 of 5

                                                  -2-



         Defendants Kia America Inc, Hyundai Motor America, and Hyundai America Technical
Center Inc. support centralization and suggest the Eastern District of Wisconsin as the transferee
district or, alternatively, the Northern District of Illinois or the Northern or Southern Districts of
Ohio.

        After considering the argument of counsel, we find that centralization of these actions in
the Central District of California will serve the convenience of the parties and witnesses and
promote the just and efficient conduct of the litigation. Plaintiffs in all actions purchased or leased
Kia and Hyundai branded vehicles that they allege are defective because the cars lack engine
immobilizer technology, which prevents them from being started unless a code is transmitted from
a unique smart key. The vehicles at issue include 2011-2022 Kia vehicles and 2015-2022 Hyundai
vehicles that were equipped with traditional “insert-and-turn” steel key ignition systems. Plaintiffs
argue that vehicles that lack immobilizer technology are particularly susceptible to being stolen.
All actions can be expected to share factual questions surrounding the marketing, sale and
manufacture of these vehicles and defendants’ knowledge of the alleged defect. Centralization
offers substantial opportunity to streamline pretrial proceedings (particularly with respect to class
certification) and reduce duplicative discovery and conflicting pretrial obligations.

        While any number of proposed transferee districts could handle this litigation ably, we are
persuaded that the Central District of California is the appropriate transferee district for these cases.
The main defendants are based in Orange County, California, and centralization in this district
should be convenient for their witnesses. Indeed, we have centralized past MDLs involving the
Hyundai and Kia defendants in this district, in part, because defendants Kia America Inc. and
Hyundai Motor America are based there. See, e.g., MDL No. 2424 – In re: Hyundai and Kia Fuel
Economy Litigation and MDL No. 2905 – In re ZF-TRW Airbag Control Units Products Liability
Litigation. If needed, the Central District of California offers an accessible district to any witnesses
or defendants that are based in Korea. The Central District of California, where fifteen cases are
pending (almost a third of the 49 total actions and potential tag-along actions), offers a relatively
underutilized transferee district with only four pending MDL dockets. By selecting Judge James
V. Selna to preside over this litigation, we are selecting a skilled jurist who is well-versed in the
nuances of complex and multidistrict automotive litigation to steer this matter on a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Central District of California are transferred to the Central District of California and, with the
consent of that court, assigned to the Honorable James V. Selna for coordinated or consolidated
proceedings.




           Case 2:21-cv-01146-PP Filed 12/13/22 Page 2 of 5 Document 50
            Case MDL No. 3052 Document 94 Filed 12/13/22 Page 3 of 5

                                            -3-


        IT IS FURTHER ORDERED that the caption of this litigation is changed from “In re: Kia
Hyundai Vehicle Theft Litigation” to “In re: Kia Hyundai Vehicle Theft Marketing, Sales
Practices, and Products Liability Litigation” to reflect the substance of this litigation more
precisely.


                                    PANEL ON MULTIDISTRICT LITIGATION



                                    _______________________________________
                                                 Karen K. Caldwell
                                                       Chair

                                    Nathaniel M. Gorton          Matthew F. Kennelly
                                    David C. Norton              Roger T. Benitez
                                    Dale A. Kimball




          Case 2:21-cv-01146-PP Filed 12/13/22 Page 3 of 5 Document 50
           Case MDL No. 3052 Document 94 Filed 12/13/22 Page 4 of 5




IN RE: KIA HYUNDAI VEHICLE
THEFT LITIGATION                                                      MDL No. 3052


                                       SCHEDULE A


      Central District of California

YEGHIAIAN, ET AL. v. KIA AMERICA, INC., ET AL., C.A. No. 8:22-01440
MCNERNEY, ET AL. v. KIA AMERICA, INC., ET AL., C.A. No. 8:22-01548

      District of Colorado

JONES v. KIA AMERICA, INC., ET AL., C.A. No. 1:22-02123

      Middle District of Florida

PUE, ET AL. v. KIA AMERICA, INC., ET AL., C.A. No. 6:22-01440

      Northern District of Illinois

LOBURGIO, ET AL. v. KIA AMERICA, INC., ET AL., C.A. No. 1:22-04071

      Southern District of Iowa

BRADY, ET AL. v. KIA AMERICA, INC., ET AL., C.A. No. 4:22-00252

      District of Kansas

SIMMONS, ET AL. v. KIA AMERICA, INC., ET AL., C.A. No. 2:22-02288

      Eastern District of Kentucky

DAY v. KIA AMERICA, INC., ET AL., C.A. No. 5:22-00202

      Western District of Missouri

BENDORF, ET AL. v. KIA AMERICA, ET AL., C.A. No. 4:22-00465
BISSELL v. HYUNDAI MOTOR AMERICA CORPORATION, ET AL.,
      C.A. No. 4:22-00548

      District of Nebraska

HALL v. KIA AMERICA, INC., ET AL., C.A. No. 4:22-03155




         Case 2:21-cv-01146-PP Filed 12/13/22 Page 4 of 5 Document 50
           Case MDL No. 3052 Document 94 Filed 12/13/22 Page 5 of 5

                                         -A2-


IN RE: KIA HYUNDAI VEHICLE
THEFT LITIGATION                                                     MDL No. 3052


      Southern District of New York

MOON v. KIA AMERICA, INC., ET AL., C.A. No. 1:22-07433

      Northern District of Ohio

SLOVAK, ET AL. v. KIA AMERICA, INC., ET AL., C.A. No. 3:22-01432

      Southern District of Ohio

FRUHLING, ET AL. v. KIA MOTORS AMERICA, INC., ET AL., C.A. No. 1:22-00451

      Southern District of Texas

BODIE, ET AL. v. KIA AMERICA, INC., ET AL., C.A. No. 4:22-02603

      Eastern District of Wisconsin

MARVIN v. KIA AMERICA, INC., ET AL., C.A. No. 2:21-01146




         Case 2:21-cv-01146-PP Filed 12/13/22 Page 5 of 5 Document 50
